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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MONIQUE GRIMES, as Personal
Representative of the Estate of
DAMON GRIMES, Deceased,

      Plaintiff,                                  Case No. 17-cv-12860
v                                                 Hon. Gershwin A. Drain
                                                  consolidated with
                                                  Case No. 17-cv-13580
TROOPER MARK BESSNER and
TROOPER ETHAN BERGER,

      Defendants.

GEOFFREY N. FIEGER (P30441)                 MARK E. DONNELLY (P39281)
JAMES J. HARRINGTON, IV (P65351)            JOSEPH T. FROEHLICH (P71887)
GINA U. PUZZUOLI (P37992)                   JOHN F. FEDYNSKY (P65232)
Fieger, Fieger, Kenney & Harrington, P.C.   Assistant Attorneys General
Attorneys for Plaintiff                     Attorneys for Trooper Ethan Berger
19390 West 10 Mile Road                     Civil Litigation, Employment &
Southfield, MI 48075                        Elections Division
(248) 355-5555                              P.O. Box 30736
                                            Lansing, MI 48909
                                            (517) 373-6434


              PLAINTIFF’S MOTION FOR LEAVE TO FILE A
                  SECOND AMENDED COMPLAINT

      NOW COMES Plaintiff MONIQUE GRIMES, Personal Representative

of the Estate of DAMON GRIMES, deceased, by and through her attorneys,

Fieger, Fieger, Kenney & Harrington, P.C., and respectfully requests that this

Honorable Court grant her leave to file a Second Amended Complaint.

Through this amendment, Plaintiff seeks to accomplish the following: (1)
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formally merge the proceedings into a singular 'master complaint'; (2) add

newly discovered claims against Trooper Berger and Trooper Bessner,

including claims of conspiracy, assault, and battery and claims for violation

of 42 U.S.C. § 1985; and (3) add Sergeant Jacob Liss as a party defendant

based on evidence that he too conspired to violate Damon Grimes' civil

rights.

      Plaintiff's proposed Second Amended Complaint is attached as

Exhibit A. As address in the attached Brief in Support, various entities,

including the Michigan State Police, have recently produced thousands of

pages of documents that establish that Trooper Bessner, Trooper Berger,

and Sgt. Liss conspired to, and did, violate the constitutional rights of

Damon Grimes, causing his death on August 26, 2017. In addition to

Plaintiff's claims against these individuals pursuant to 42 U.S.C. § 1983 and

42 U.S.C. § 1985 for their violation of Damon Grimes' civil rights under the

Fourth and Fourteenth Amendment, Plaintiff seeks to amend her

complaint to include state law claims for assault, battery, and conspiracy.

As addressed in the Brief in Support, Plaintiff's requested amendment is

consistent with Fed. R. Civ. P. 15(a) and this Court's inherent authority to

manage it docket.



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      WHEREFORE,        Plaintiff   MONIQUE       GRIMES,       as    Personal

Representative of the Estate of DAMON GRIMES, deceased, respectfully

requests that this Court GRANT this motion and (1) allow Plaintiff leave to

file the Second Amended Complaint attached as Exhibit A and (2) issue a

summons against Sergeant Jacob Liss.

                              Respectfully submitted,
                              Fieger, Fieger, Kenney & Harrington, P.C.


Dated: May 15, 2018           /s/ Geoffrey N. Fieger
                              GEOFFREY N. FIEGER (P30441)
                              JAMES H. HARRINGTON (P65351)
                              GINA U. PUZZUOLI (P37992)
                              Attorneys for Plaintiff
                              19390 W. Ten Mile Road
                              Southfield, MI 48075




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                      IN THE SOUTHERN DIVISION

MONIQUE GRIMES, as Personal
Representative of the Estate of
DAMON GRIMES, Deceased,

      Plaintiff,
v                                                 Case No. 17-cv-12860
                                                  Hon. Gershwin A. Drain
TROOPER MARK BESSNER and
TROOPER JOHN DOE,
Individually,

      Defendants.

GEOFFREY N. FIEGER (P30441)                 MARK E. DONNELLY (P39281)
JAMES J. HARRINGTON, IV (P65351)            JOSEPH T. FROEHLICH (P71887)
GINA U. PUZZUOLI (P37992)                   JOHN F. FEDYNSKY (P65232)
DANIELLE L. DEZBOR (P79488)                 Assistant Attorneys General
Fieger, Fieger, Kenney & Harrington, P.C.   Attorneys for SOM and MSP
Attorneys for Plaintiff                     Civil Litigation, Employment &
19390 West 10 Mile Road                     Elections Division
Southfield, MI 48075                        P.O. Box 30736
(248) 355-5555                              Lansing, MI 48909
                                            (517) 373-6434



                        BRIEF IN SUPPORT OF
               PLAINTIFF’S MOTION FOR LEAVE TO FILE
                  A SECOND AMENDED COMPLAINT
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      NOW      COMES      Plaintiff   MONIQUE      GRIMES,     as    personal

representative of the Estate of DAMON GRIMES, deceased, by and

through her attorneys, Fieger, Fieger, Kenney & Harrington, P.C. and

respectfully requests that this Honorable Court grant her Motion for Leave

to File a Second Amended Complaint, which is attached as Exhibit A.



                  STATEMENT OF RELEVANT FACTS

I.    Relevant Procedural History

      The facts underlying this tragedy began on August 26, 2017. Damon

Grimes was tragically killed while riding his ATV when a taser was

deployed directly at him by Defendant Trooper Mark Bessner who was in a

moving patrol vehicle being driven by Defendant Trooper Ethan Berger.

After his body was shocked, Damon Grimes was propelled into the rear

end of a vehicle. Damon subsequently died from his injuries.

      On August 30, 2017, Plaintiff filed her complaint against Trooper

John Doe alleging a violation of Damon Grimes' constitutional rights,

specifically civil rights protected by the Fourth and Fourteenth

Amendments. (Dkt No. 1) Shortly thereafter, on September 20, 2017,

Plaintiff filed her First Amended Complaint against Trooper Mark Bessner


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and Trooper John Doe asserting allegations similar to those raised in the

original complaint. (Dkt No. 2)

      As further information became known, on November 1, 2017,

Plaintiff filed a separate action against Trooper Ethan Berger, the driver of

the patrol vehicle. That case was designated as Case No. 5:17-cv-13580 and

assigned to Your Honor. In an effort to best manage these related

proceedings, this Court consolidated these cases through an order issued

on February 23, 2018. (Dkt. No. 49).

      With the cases consolidated, the parties were in a position to begin

discovery. Various subpoenas and other document requests were

submitted to multiple entities seeking information regarding Damon's

death. A Protective Order was then issued on March 23, 2018, regarding

certain documents Plaintiff requested from the State of Michigan in relation

to the events of this case. (Dkt. No. 52). Days later, this Court issued a

scheduling order in this matter. (Dkt No. 53)

      With the protective order in place, on March 29, 2018, the State of

Michigan and Michigan State Police produced over 56,000 pages of

records/documents to Plaintiff by First Class Mail. It is the information

learned from those documents that forms the basis of this motion.



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II.   Plaintiff's Second Amended Complaint

      Attached as Exhibit A is Plaintiff's Second Amended Complaint.

Through this amendment, Plaintiff seeks to accomplish the following: (1)

formally merge the proceedings into a singular 'master complaint'; (2) add

newly discovered claims against Trooper Berger and Trooper Bessner,

including claims of conspiracy, assault, and battery and claims for violation

of 42 U.S.C. § 1985; and (3) add Sergeant Jacob Liss as a party defendant

based on evidence that he too conspired to violate Damon Grimes' civil

rights.

      The information contained within the documents recently produced

by the State of Michigan and the Michigan State Police form the factual

basis for Plaintiff's requested amendment. These documents include

various policies and procedures of the Michigan State Police as well as

various documents related to disciplinary proceedings initiated against

these individuals. In light of the protective order, Plaintiff cannot detail

those documents in this motion, but can produce them at oral argument for

the Court's review. This newly-discovered information supports claims for

assault, battery, and civil conspiracy against Trooper Ethan Berger and



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Trooper Mark Bessner. This newly-discovered information also support a

claim of civil conspiracy against Sergeant Jacob Liss.

      As to Sgt. Liss, the documents produced reveal that he intentionally

and actively participated in covering-up the actions of Trooper Mark

Bessner and Trooper Ethan Berger. He did this by failing to report to

commanders and/or investigators that a taser had been deployed during

the pursuit, tampering with evidence, and failing to report to commanders

and/or investigators that Trooper Bessner used excessive force on Damon

Grimes. The limited discovery completed thus far reveals that Sgt. Jacob

Liss did not advise anyone, including commanders and/or investigators,

that he concealed, spoiled, destroyed and/or discarded the taser wire(s), a

critical piece of evidence. It is believed that his actions were undertaken to

deprive Damon Grimes and his estate of rights and privileges protected by

42 U.S.C. § 1985(3) and were based on racial bias or class-based animus.

      Plaintiff's Second Amended Complaint alleges that Trooper Bessner,

Trooper Berger, and Sgt. Liss, together by their concerted actions, falsified,

destroyed, spoiled, and concealed evidence of the use of the taser and acted

in manner in which to commit and accomplish unlawful acts, resulting in

the deprivation of Damon Grimes' constitutional rights, including a

deprivation of Due Process otherwise protected by 42 U.S.C. § 1985. Like
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the actions of Sgt. Liss, it is believed that Trooper Bessner and Trooper

Berger were motivated by racial bias or class-based animus.

      The documents recently produced by the State of Michigan also

support a claim against Defendants and Sgt. Jacob Liss for conspiring to

deprive Damon Grimes and his estate of other constitutional rights. These

constitutional violations relate to their failure to immediately render first

aid to Damon Grimes; intentionally discarding the taser wire from the taser

used to commit excessive force upon Damon Grimes; failing to report to

supervisors and/or investigators the use of a taser, the use of excessive

force and the destruction, spoliation and concealment of the taser wire

used in the excessive force upon Damon Grimes; falsifying reports; and

failing to truthfully answer questions by superiors and/or investigators.

      The    newly-discovered     evidence   further    demonstrates      how

Defendants Trooper Mark Bessner and Trooper Ethan Berger, together in a

concerted effort, committed assault and battery against Damon Grimes.

The acts taken by Defendants Trooper Mark Bessner and Trooper Ethan

Berger were not undertaken in good faith and were not discretionary.




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                            LEGAL ARGUMENT

       JUSTICE REQUIRES THAT THIS HONORABLE COURT GRANT
       PLAINTIFF’S MOTION FOR LEAVE TO FILE A SECOND
       AMENDED COMPLAINT.

       Fed. R. Civ. P.   15(a)(2) provides that a party may amend their

 complaint with either the opposing party’s written consent or leave of the

 Court. Whether a party should be granted leave to amend their pleadings

 is generally a matter left to the discretion of the court. Fed. R. Civ. P. 15

 provides that leave to amend should be freely given when justice so

 requires. The general principles underlying Fed. R. Civ. P. 15(a) were

 discussed by the Supreme Court in Foman v. Davis, 371 U.S. 178 (1962):

       If the underlying facts or circumstances relied upon by a
       plaintiff may be a proper subject of relief, he ought to be
       afforded an opportunity to test his claim on the merits. In the
       absence of any apparent or declared reason—such as undue
       delay, bad faith or dilatory motive on the part of the movant,
       repeated failure to cure deficiencies by amendments previously
       allowed, undue prejudice to the opposing party by virtue of
       allowance of the amendment, futility of amendment, etc.—the
       leave sought should, as the rules require, be “freely given.”

 Id. at 182. Foman’s analysis has been favorably adopted by the Sixth Circuit.

 Neighborhood Development Corp. v. Advisory Council on Historic Preservation,

 632 F.2d 21, 23 (6th Cir.1980), Brown v. Chapman, 814 F.3d 436 (6th Cir.

 2016).



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       Because Rule 15(a)(2) directs courts to “freely give leave when justice

 so requires,” the rule embodies a “liberal amendment policy.” Morse v.

 McWhorter, 290 F.3d 795, 800 (6th Cir. 2002). This liberal amendment policy

 favors leave being granted in this case. Here, none of the reasons

 articulated in Forman exist in this case and, as such, the requested

 amendments should be allowed. Plaintiff only recently learned of the

 factual basis for the added claims. Plaintiff also only recently learned of the

 factual basis warranting Sgt. Liss being added to this action.

       It should also be noted that granting leave to amend will not result in

 prejudice to any defendant. Discovery has just begun. Defendant Bessner

 has not even appeared in this case. As previously stated, Plaintiff received

 the requested documents from the State within the last 30 days.

       The applicable law also supports Plaintiff's requested amendment.

 The Seventh Circuit provided the following analysis of civil conspiracy in

 Bell v. City of Milwaukee, 746 F.2d 1205 (7th Cir. 1984), overruled on other

 grounds 414 F.3d 783 (7th Cir. 2005): "A plaintiff seeking redress for civil

 conspiracy need not prove that each participant in conspiracy knew 'the

 exact limits of illegal plan or identity of all participants therein.' An express

 agreement among all conspirators is not a necessary element of civil

 conspiracy. The participants in the conspiracy must share the general

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 conspiratorial objective, but they need not know all the details of the plan

 designed to achieve the objective or posses the same motives for desiring

 the intended conspiratorial result. To demonstrate existence of a

 conspiratorial agreement, it simply must be shown that there was 'a single

 plan, the essential nature and general scope of which was known to each

 person who is to be held responsible for its consequences.'" Id. at 1255

 quoting Hampton v. Hanrahan, 600 F.2d 600, 620-621 (7th Cir. 1979) (internal

 citations omitted)

       Applicable state law also supports Plaintiff's claims of conspiracy.

 The essential elements of a civil conspiracy are: (1) a concerted action (2) by

 a combination of two or more persons (3) to accomplish an unlawful

 purpose (4) or a lawful purpose by unlawful means. Fenestra, Inc. v. Gulf

 American Land Corp., 377 Mich. 565, 593, 141 N.W.2d 36 (1966), see also

 Veriden v. McLeod, 180 Mich. 182, 146 N.W. 619 (1914). In addition, at the

 core of an actionable civil conspiracy is a question of damages. This facet of

 the   law   of   conspiracy   is   accurately   summarized      in   the   case

 of Roche v. Blair, 305 Mich. 608, 613- 614, 9 N.W.2d 861 (1943): "The law is

 well established that in a civil action for damages resulting from wrongful

 acts alleged to have been committed in pursuance of a conspiracy, the gist

 or gravamen of the action is not the conspiracy but is the wrongful acts

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 causing the damages. The conspiracy standing alone without the

 commission of acts causing damage would not be actionable. The cause of

 action does not result from the conspiracy but from the acts done." In the

 case of Auto Workers' Temple Ass'n v. Janson, 227 Mich. 430, 433, 198 N.W.

 992 (1924), "the point is made more succinctly: the foundation of the action

 is the damage and not the conspiracy."

       Here,   Plaintiff's   claims   are    supported   by   newly-discovered

 information establishing that Defendants Trooper Ethan Berger and

 Trooper Mark Bessner intentionally and willfully conspired together and

 with Sgt. Liss, in an attempt to cover-up their egregious acts committed

 against Damon Grimes. These allegations are proven by several documents

 provided by the Attorney General's Office. In light of the protective order

 issued in this action, Plaintiff cannot expound upon the specific records

 that she is relying on in the body of this Brief, however, she can provide

 those documents to the Court at oral argument.

       In light of the newly-discovered evidence suggesting that Defendants

 Trooper Mark Bessner, Trooper Ethan Berger, and Sgt. Jacob Liss, together

 by their concerted actions, conspired to falsify, destroy, spoil, and conceal

 evidence of the use of the taser (and the taser wire) by acting in a manner

 in which to commit civil conspiracy and accomplish unlawful acts resulting

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 in the deprivation of Mr. Grimes' civil rights, including a deprivation of

 Due Process, leave to amend is appropriate.

       Furthermore, the racial bias and class-based animus that likely fueled

 their conspiracy to deprive Damon Grimes and his estate of rights and

 privileges protected by law is sufficient for Plaintiff to assert a claim

 pursuant to 42 U.S.C. § 1985(3). The documents produced support

 Plaintiff's claims against Defendants and Sgt. Jacob Liss for conspiring to

 not immediately render first aid to Damon Grimes; intentionally discarding

 the taser wire from the taser used to commit excessive force upon Damon

 Grimes; failing to report to supervisors and/or investigators the use of a

 taser and the use of excessive force; the destruction, spoliation and

 concealment of the taser wire used in the excessive force upon Damon

 Grimes; falsifying reports; and failing to truthfully answer questions by

 superiors and/or investigators.

       The facts and law also support Plaintiff's claims for assault and

 battery. “A battery is an intentional, unconsented and harmful or offensive

 touching of the person of another, or of something closely connected with

 the person. It is not necessary that the touching cause an injury.” Lakin v.

 Rund, 318 Mich. App. 127, 131, 896 N.W.2d 76 (2016), leave den. 500 Mich.

 985 (2017).

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       An assault, by contrast, is an incomplete battery. “The intent needed

 for an assault is the intent to commit a battery or an intent to create in the

 victim a reasonable fear or apprehension of an immediate battery.” Mitchell

 v. Daly, 133 Mich. App. 414, 426, 350 N.W.2d 772 (1984). Thus, the tort of

 assault can be established in two ways: the plaintiff can either be placed in

 reasonable fear of an impending battery or a battery is committed against

 the plaintiff.

       “Because an attempt to commit a battery will establish an assault,

 every battery necessarily includes an assault because a battery is the very

 consummation of the assault. While the common law did not require proof

 of intent, Michigan requires proving the intent to injure in order to

 establish an assault and battery. The intent of the defendant may be

 established by circumstantial evidence.” Lakin, 318 Mich. App. at 131

 (cleaned up).

       From the facts known, Plaintiff has actionable claims for assault and

 battery against Trooper Mark Bessner and Trooper Ethan Berger. These

 Defendants caused Damon Grimes to be subjected to involuntary,

 unnecessary, and unwanted contact. As a direct and proximate cause of the

 assault and battery committed by Defendants, Plaintiff sustained injuries

 and ultimately death. The actions taken by Trooper Mark Bessner and

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 Trooper Ethan Berger were not undertaken in good faith and were not

 discretionary.



                              CONCLUSION1

       For the reasons stated above, Plaintiff MONIQUE GRIMES, as

 Personal Representative of the Estate of DAMON GRIMES, deceased,

 respectfully requests that this Court GRANT this motion and (1) allow

 Plaintiff leave to file the Second Amended Complaint attached as Exhibit A

 and (2) issue a summons against Sergeant Jacob Liss.

                                    Respectfully submitted,


                                    /s/ Geoffrey N. Fieger _________
                                    GEOFFREY N. FIEGER (P30441)
                                    JAMES J. HARRINGTON IV (P65351)
                                    GINA U. PUZZUOLI (P37992)
                                    Fieger, Fieger, Kenney & Harrington PC
 Dated: May 15, 2018                Attorneys for Plaintiff




 1
       Pursuant to the E.D. Mich. L. R. 7.1, Plaintiff’s counsel sought
 concurrence from all counsel or parties appearing in this action and
 concurrence has not been provided. Defendant Bessner has not appeared in
 this case at the present time and could not be reached for concurrence.
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                        CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2018, I electronically filed the
 foregoing paper with the Clerk of the Court using the ECF system which
 will send notification of such filing to all participating attorneys.

                              /s/: Samantha M. Teal
                       Legal Assistant to Geoffrey N. Fieger




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